 AO 106 (Rev.Case:
             04/10) Application for a Search Warrant
                     4:23-mj-07292-SPM                       Doc. #: 1 Filed: 08/04/23 Page: 1 of 26 PageID #: 1


                                         UNITED STATES DISTRICT COURT
                                                                         for the
                                                              Eastern District of Missouri

               In the Matter of the Search of
                                                                                 )
INFORMATION ASSOCIATED WITH THE GOOGLE ACCOUNT                                   )
jimmygoings50@gmail.com THAT IS STORED AT PREMISES                               )            Case No. 4:23-MJ-7292 SPM
CONTROLLED BY GOOGLE LLC.
                                                                                 � SIGNED AND SUBMITTED TO THE COURT FOR
                                                                                 ) FILING BY RELIABLE ELECTRONIC MEANS

                                               APPLICATION FOR A SEARCH WARRANT
         I,              Stephanie Stoebner                 , a federal law enforcement officer or an attorney for the government,
 request a search warrant and state under penalty of perjury that I have reason to believe that on the following person or
 property (identify the person or describe the property to be searched and give its location):
                                                              SEE ATTACHMENT A

 located in the      - - NORHTERN
                         ----  --                   District of - - - -CALIFORNIA
                                                                       -------    - , there is now concealed (identify the
 person or describe the property to be seized):
                                                                    SEE ATTACHMENT B


           The basis for the search under Fed. R. Crim. P.41 (c) is (check one or more):
                � evidence of a crime;
                � contraband, fruits of crime, or other items illegally possessed;
                  � property designed for use, intended for use, or used in committing a crime;
                  0 a person to be arrested or a person who is unlawfully restrained.
           The search is related to a violation of:
                                                          Code Section - Offense Description
        18 USC Sections 2252A(a)(l ), knowingly mailing, transporting, or shipping child pornography in interstate or foreign commerce by any means; 2252A(a)(2)
        (A) knowingly receiving or distributing any child pornography that has been mailed or shipped or transported in interstate or foreign commerce by any means;
        and 2252A(a)(5)(B) possessing any book, magazine, periodical, film, videotape, computer disk, or other material that contains an image of child pornography

           The application is based on these facts:
                        SEE ATTACHED AFFIDAVIT WHICH IS INCORPORATED HEREIN BY REFERENCE

            � Continued on the attached sheet.
            0 Delayed notice of       days (give exact ending date if more than 30 days: - - �- -) is requested
              under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                          C!xt��z_
                     I state under the penalty of perjury that the
                     foregoing is true and correct.
                                                                                                               Applicant's signature

                                                                                                            Stephanie Stoebner, SFO
                                                                                                               Printed name and title

Sworn to, attested to, and ·affirmed before me via reliable electronic means pursuant to Federal Rules of Criminal Procedure
4.1 and41

Date:              08/04/2023
                                                                                                                 Judge's signature

City and state: -St. Louis, MO                                                       Honorable Shirley Padmore Mensah, U.S. Magistrate Judge
                     ---     --------
                                    -
                                                                                                               Printed name and title

 AUSA: NATHAN CHAPMAN
   Case: 4:23-mj-07292-SPM Doc. #: 1 Filed: 08/04/23 Page: 2 of 26 PageID #: 2




                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF MISSOURI

 IN THE MATTER OF THE SEARCH OF
 INFORMATION ASSOCIATED WITH THE    No. 4:23-MJ-7292 SPM
 GOOGLE ACCOUNT
 jimmygoings50@gmail.com THAT IS SIGNED AND SUBMITTED TO THE
 STORED AT PREMISES CONTROLLED   COURT FOR FILING BY RELIABLE
 BY GOOGLE LLC.                  ELECTRONIC MEANS

                                                      FILED UNDER SEAL

                     AFFIDAVIT IN SUPPORT OF AN APPLICATION
                             FOR SEARCH WARRANT

       I, Stephanie Stoehner, being duly sworn via reliable electronic means, do hereby depose

and state:

                                       INTRODUCTION

       1.      This affiant is a detective with the St. Louis County Police Department and a

Special Federal Officer with the Federal Bureau of Investigation (FBI). This affiant has been

employed with the St. Louis County Police Department since January of 2010 and a sworn

Police Officer since December of 2010. This affiant is currently assigned as a detective in the

Division of Criminal Investigation, Bureau of Crimes Against Persons, Special Investigations

Unit. This affiant has been involved in numerous investigations involving the exploitation of

children, the use of the Internet to induce a minor to engage in a criminal sexual offense, and the

dissemination of child pornography on the Internet via computer. This affiant has attended

specialized courses involving computer crime investigations, child exploitation, and undercover

online investigations. This affiant has been personally involved in the execution of search

warrants to search residences and seize material relating to the sexual exploitation of minors
     Case: 4:23-mj-07292-SPM Doc. #: 1 Filed: 08/04/23 Page: 3 of 26 PageID #: 3


including    computers,   computer-related    equipment,    software,    and   electronically-stored

information.

        2.     This affidavit is made in support of an application for a search warrant to search

for and seize instrumentalities, fruits, and evidence of violations of Title 18, United States Code,

Sections 2252 and 2252A, which criminalize, among other things, the possession and/or receipt

and shipment of child pornography, and other related materials. The items that are the subject of

the search and seizure applied for in this affidavit are more specifically described in Attachment

A.

        3.     The statements contained in this affidavit are based on this affiant’s personal

knowledge or information provided to this affiant by other law enforcement officers and other

agencies. Since this affidavit is being submitted for the limited purpose of securing a search

warrant, this affiant has not included each and every fact known to me concerning this

investigation. This affiant has set forth only the facts that I believe are necessary to establish

probable cause to believe that evidence, fruits, and instrumentalities of the violation of Title 18,

United States Code, Sections 2252A(a)(2), and 2252A(a)(5)(B), including but not limited to the

items described on Attachment A, which is attached hereto and incorporated herein by reference,

will    be   found   within   the    following   Google    account      of   James   Goings,    aka

“jimmygoings50@gmail.com.”

                                    STATUTORY AUTHORITY

        4.     This investigation concerns alleged violations of Title 18, United States Code,

Section 2252A, relating to the sexual exploitation of minors. Title 18, U.S.C., § 2252A(a)(2)(A)

prohibits a person from knowingly receiving or distributing any child pornography that has been

mailed or shipped or transported in interstate or foreign commerce by any means, including by

computer. 18 U.S.C. § 2252A(a)(5)(B) prohibits a person from knowingly possessing any book,


                                                 2
  Case: 4:23-mj-07292-SPM Doc. #: 1 Filed: 08/04/23 Page: 4 of 26 PageID #: 4


magazine, periodical, film, videotape, computer disk, or other material that contains an image of

child pornography that has been mailed, or shipped or transported in interstate or foreign

commerce by any means, including by computer, or that was produced using materials that have

been mailed, or shipped or transported in interstate or foreign commerce by any means, including

by computer.

                                          DEFINITIONS

       5.      The following definitions apply to this Affidavit and Attachment A to this

Affidavit:

       a.      "Child erotica" are materials or items that are sexually arousing to pedophiles but

       that are not in and of themselves obscene or which do not necessarily depict minors in

       sexually explicit poses or positions.

       b.      "Child pornography," as used in this affidavit, includes the definition in Title 18,

       USC, Section 2256(8)(A) and (C), as well as any visual depiction, the production of

       which involves the use of a minor engaged in sexually explicit conduct.

       c.      18 U.S.C. § 2256(5) states: "‘visual depiction’ includes undeveloped film and

       videotape, and data stored on computer disk or by electronic means, which is capable of

       conversion into a visual image."

       d.      The term "computer," as used herein, is defined pursuant to Title 18, United

       States Code, Section 1030(e)(1), as "an electronic, magnetic, optical, electrochemical, or

       other high speed data processing device performing logical or storage functions, and

       includes any data storage facility or communications facility directly related to or

       operating in conjunction with such device."

       e.      "Computer hardware," as used herein, consists of all equipment which can

       receive, capture, collect, analyze, create, display, convert, store, conceal, or transmit


                                                3
Case: 4:23-mj-07292-SPM Doc. #: 1 Filed: 08/04/23 Page: 5 of 26 PageID #: 5


   electronic, magnetic, or similar computer impulses or data. Computer hardware includes

   any data-processing devices (including, but not limited to, central processing units,

   internal and peripheral storage devices such as fixed disks, external hard drives, floppy

   disk drives and diskettes, and other memory storage devices); peripheral input/output

   devices (including, but not limited to, keyboards, printers, video display monitors, and

   related communications devices such as cables and connections), as well as any devices,

   mechanisms, or parts that can be used to restrict access to computer hardware (including,

   but not limited to, physical keys and locks).

   f.     "Computer software," as used herein, is digital information which can be

   interpreted by a computer and any of its related components to direct the way they work.

   Computer software is stored in electronic, magnetic, or other digital form. It commonly

   includes programs to run operating systems, applications, and utilities.

   g.     "Computer-related documentation," as used herein, consists of written, recorded,

   printed, or electronically stored material, which explains or illustrates how to configure or

   use computer hardware, computer software, or other related items.

   h.     "IP address" refers to a unique number used by a computer to access the Internet.

   IP addresses can be dynamic, meaning that the Internet Service Provider (ISP) assigns a

   different unique number to a computer every time it accesses the Internet. IP addresses

   might be static whereby the user’s ISP assigns his computer a unique IP address – and

   that same number is used by the user every time his computer accesses the Internet.

   Numerical IP addresses generally have corresponding domain names. For instance, the

   IP   address     149.101.10.40     traces       to   the   corresponding    domain     name

   "www.cybercrime.gov". The Domain Name System or DNS is an Internet service that

   maps domain names. This mapping function is performed by DNS servers located


                                               4
Case: 4:23-mj-07292-SPM Doc. #: 1 Filed: 08/04/23 Page: 6 of 26 PageID #: 6


   throughout the Internet. In general, a registered domain name should resolve to a

   numerical IP address.

   i.     The terms "records," "documents," and "materials" include all information

   recorded in any form, visual or aural, and by any means, whether in handmade form

   (including, but not limited to, writings, drawings, paintings), photographic form

   (including, but not limited to, microfilm, microfiche, prints, slides, negatives, videotapes,

   motion pictures, photocopies), mechanical form (including, but not limited to,

   phonograph records, printing, typing) or electrical, electronic or magnetic form

   (including, but not limited to, tape recordings, cassettes, compact discs, electronic or

   magnetic storage devices such as floppy diskettes, hard disks, CD-ROMs, digital video

   disks (DVDs), Personal Digital Assistants (PDAs), Multi Media Cards (MMCs), memory

   sticks, optical disks, printer buffers, smart cards, memory calculators, electronic dialers,

   Bernoulli drives, or electronic notebooks, as well as digital data files and printouts or

   readouts from any magnetic, electrical or electronic storage device).

   j.     "Computer passwords” and “data security devices," as used herein, consist of

   information or items designed to restrict access to or hide computer software,

   documentation, or data. Data security devices may consist of hardware, software, or

   other programming code. A password (a string of alpha-numeric characters) usually

   operates as a sort of digital key to "unlock" particular data security devices. Data security

   hardware may include encryption devices, chips, and circuit boards. Data security

   software of digital code may include programming code that creates "test" keys or "hot"

   keys, which perform certain pre-set security functions when touched. Data security

   software or code may also encrypt, compress, hide, or "booby-trap" protected data to

   make it inaccessible or unusable, as well as reverse the progress to restore it.


                                             5
Case: 4:23-mj-07292-SPM Doc. #: 1 Filed: 08/04/23 Page: 7 of 26 PageID #: 7


   k.     "Sexually explicit conduct" means actual or simulated (a) sexual intercourse,

   including genital-genital, oral-genital, genital-anal, or oral-anal, whether between persons

   of the same or opposite sex; (b) bestiality; (c) masturbation; (d) sadistic or masochistic

   abuse; or (e) lascivious exhibition of the genitals or pubic area of any person.

   l.     “Internet addresses” take on several forms, including Internet Protocol (IP)

   addresses, Uniform Resource Locator (URL) addresses, and domain names. Internet

   addresses are unique and can be traced to an identifiable physical location and a computer

   connection. The Internet Protocol address (or simply "IP" address) is a unique numeric

   address used by computers on the Internet. An IP address is a series of four numbers,

   each in the range 0-255, separated by periods (e.g., 121.56.97.187). Every computer

   attached to the Internet must be assigned an IP address so that Internet traffic sent from

   and directed to that computer may be directed properly from its source to its destination.

   An IP address acts much like a home or business street address, it enables Internet sites to

   properly route traffic to each other. The assignment of IP addresses to computers

   connected to the Internet is controlled by ISPs. There are two types of IP addresses,

   dynamic and static. To assign dynamic IP addresses, the ISP randomly assigns one of the

   available IP addresses, in the range of IP addresses controlled by the ISP, each time a

   customer dials in or connects to the ISP in order to connect to the Internet. The

   customer's computer retains that IP address for the duration of that session (i.e., until the

   user disconnects), and the IP address cannot be assigned to another user during that

   period. Once the user disconnects, that IP address becomes available to other customers

   who dial in at a later time. Thus, an individual customer's dynamic IP address may, and

   almost always will, differ each time he dials into or connects to the ISP. To assign static

   IP addresses, the ISP assigns the customer a permanent IP address. The customer's


                                             6
Case: 4:23-mj-07292-SPM Doc. #: 1 Filed: 08/04/23 Page: 8 of 26 PageID #: 8


   computer would then be configured with this IP address every time he dials in or

   connects to the ISP in order to connect to the Internet.

   m.        The "Internet" is a collection of computers and computer networks which are

   connected to one another via high-speed data links and telephone lines for the purpose of

   sharing information. Connections between Internet computers exist across state and

   international borders and information sent between computers connected to the Internet

   frequently crosses state and international borders, even if those computers are in the same

   state. A network is a series of devices, including computers and telecommunication

   devices, connected by communication channels.

   n.        An “internet service provider” (ISP) is a commercial service that provides

   Internet connectivity to its subscribers. In addition to providing access to the Internet via

   telephone lines or other telecommunications lines, ISPs may also provide Internet e-mail

   accounts and other services unique to each particular ISP such as Usenet Newsgroups and

   Internet Relay Chat. ISPs maintain records pertaining to the individuals or companies

   that have subscriber accounts with it. Those records could include identifying and billing

   information, account access information in the form of log files, e-mail transaction

   information, posting information, account application information, customer service

   information and other information, both in computer data format and in written record

   format.

   o.        A "server" is a centralized computer that provides services for other computers

   connected to it via a network. The computers that use the server's services are sometimes

   called "clients".




                                             7
  Case: 4:23-mj-07292-SPM Doc. #: 1 Filed: 08/04/23 Page: 9 of 26 PageID #: 9


           STORED WIRE AND ELECTRONIC COMMUNICATION ACCESS

      6.     Title 18, United States Code, Sections 2701 through 2711, is entitled "Stored

Wire and Electronic Communications and Transactional Records Access."

      a. Title 18, United States Code, Section 2703(a) provides, in part:

             A governmental entity may require the disclosure by a provider of electronic

             communication service the contents of a wire or electronic communication, that is

             in electronic storage in an electronic communications system for one hundred and

             eighty days or less, only pursuant to a warrant issued under the Federal Rules of

             Criminal Procedure by a Court with jurisdiction over the offense under

             investigation or equivalent State warrant. A governmental entity may require the

             disclosure by a provider of electronic communications services of the contents of

             a wire or electronic communication that has been in electronic storage in an

             electronic communications system for more than one hundred and eighty days by

             the means available under subsection (b) of this section.

      b. Title 18, United States Code, Section 2703(b) provides, in part:

             (1)     A governmental entity may require a provider of remote computing

             service to disclose the contents of any wire or electronic communication to which

             this paragraph is made applicable by paragraph (2) of this subsection –

                     (A)    Without required notice to the subscriber or customer, if the

                     governmental entity obtains a warrant issued under the procedures

                     described in the Federal Rules of Criminal Procedure by a Court with

                     jurisdiction over the offense under investigation or equivalent State

                     warrant...




                                               8
Case: 4:23-mj-07292-SPM Doc. #: 1 Filed: 08/04/23 Page: 10 of 26 PageID #: 10


           (2)    Paragraph (1) is applicable with respect to any wire or electronic

           communication that is held or maintained on that service: –

                  (A)      On behalf of, and received by means of electronic transmission

                  from (or created by means of computer processing of communications

                  received by means of electronic transmission from), a subscriber or

                  customer of such remote computing service; and

                  (B)     Solely for the purpose of providing storage or computer processing

                  services to such subscriber or customer, if the provider is not authorized to

                  access the contents of any such communications for purposes of providing

                  any services other than storage or computer processing.

    c.     The government may also obtain records and other information pertaining to a

    subscriber or customer of electronic communication service or remote computing service

    by way of a search warrant. 18 U.S.C. § 2703(c). No notice to the subscriber or

    customer is required. 18 U.S.C. § 2703(c)(2).

    d.     Title 18, United States Code, Section 2711, provides, in part:

           As used in this chapter –

           (1)    The terms defined in section 2510 of this title have, respectively, the

           definitions given such terms in that section; and

           (2)    The term "remote computing service" means the provision to the public of

           computer storage or processing services by means of an electronic

           communications system.




                                            9
 Case: 4:23-mj-07292-SPM Doc. #: 1 Filed: 08/04/23 Page: 11 of 26 PageID #: 11


       e. Title 18, United States Code, Section 2510, provides, in part:

               (8)    "Contents," when used with respect to any wire, oral, or electronic

               communication, includes any information concerning the substance, purport, or

               meaning of that communication; . . .

               (14)   "Electronic    communications          system"   means   any    wire,    radio,

               electromagnetic, photo-optical or photo-electronic facilities for the transmission

               of wire or electronic communications and any computer facilities or related

               electronic equipment for the electronic storage of such communications; . . .

               (15)   "Electronic communication service" means any service, which provides to

               users thereof the ability to send or receive wire or electronic communications; . . .

               (17)   "Electronic storage" means –

                      a.      Any temporary, intermediate storage of a wire or electronic

                      communication incidental to the electronic transmission thereof; and

                      b.      Any    storage    of    such     communication   by    an   electronic

                      communication service for purposes of backup protection of such

                      communication.

                      AGENT BACKGROUND AND INVESTIGATION

       7.      This affiant has been employed as a police officer for approximately thirteen

years and is currently assigned as a detective to the Division of Criminal Investigation’s Special

Investigations Unit with the St. Louis County Police Department. During the course of this time

period, this affiant has had numerous contacts and dealings with informants, other police

officers, individuals known to possess and sell obscene material, as well as subjects known to

possess, distribute, and manufacture child pornographic images and/or videos. This affiant has

received specialized training in the area of computer-based investigations. This affiant has also


                                                10
 Case: 4:23-mj-07292-SPM Doc. #: 1 Filed: 08/04/23 Page: 12 of 26 PageID #: 12


received training in the area of internet crimes against children from the National Center for

Missing and Exploited Children (NCMEC), as well as attended the Internet Crimes Against

Children’s (ICAC) Investigative Techniques Training Program, the ICAC Online Ads Training

Program, and the ICAC Undercover Investigations Training Program. This affiant has assisted

in numerous investigations and search warrants relative to the crimes of manufacturing,

possession, and distribution of child pornography. This affiant is also familiar with investigating

Cyber-Tip reports, conducting on-scene interviews, and “knock and talk” investigation

techniques.

        8.     The statements in this affidavit are based in part on this affiant’s personal

knowledge or information provided by other law enforcement officers. Since this affidavit is

being submitted for the limited purpose of securing a search warrant, this affiant has not included

each and every fact known to her concerning this investigation.

        9.     On April 4th, 2022, Sergeant Brian Shanika, DSN 2976, of the St. Louis County

Police Department’s Special Investigations Unit, advised this affiant that CyberTipline Report

#112013929 from the National Center for Missing and Exploited Children (NCMEC) had been

forwarded to the Special Investigations Unit. The CyberTipline Report was reported to NCMEC

on December 23rd, 2021, at 03:03:43 hours (UTC) by Google.

        10.    The CyberTipline Report advised that the Google account registered with the

name “Jim,” verified telephone number of (314) 666-0429, date of birth of xx-xx-1998, verified

email   address   of   “jimmygiongs50@gmail.com,”         and     additional   email   address   of

“jimmygoings50@yahoo.com,” was used to upload four (4) files depicting child pornography /

child sexual abuse material (CSAM). The CyberTipline indicated that the account was accessed

from the IP address of 2600:1700:acaf:b000:58c3:9d3a:6ae7:9830 on December 16th, 2021 at

00:49:49: hours (UTC).


                                                11
 Case: 4:23-mj-07292-SPM Doc. #: 1 Filed: 08/04/23 Page: 13 of 26 PageID #: 13


       11.     NCMEC        reported      through     Geo-Lookup     that    the    IP    address

2600:1700:acaf:b000:58c3:9d3a:6ae7:9830 is listed as belonging to AT&T Uverse, and

registered within the St. Louis metropolitan area.

       12.     On March 8th, 2022, a subpoena was sent to AT&T Internet Services for

user/subscriber information, to include method and type of payment for the IP address of

2600:1700:acaf:b000:58c3:9d3a:6ae7:9830 assigned on December 16th, 2021, at 06:33:20 hours

(GMT). A response was received from AT&T Internet Services, which advised the IP address of

2600:1700:acaf:b000:58c3:9d3a:6ae7:9830 had been assigned to AT&T account #304963411,

on the above-listed date and time, which is registered to Denise Goings, with a service address of

2418   Spencer    Avenue,     Overland,    Missouri    63114-3237,   an     email   addresses   of

“denise_tierney8612@att.net” and “jimmygoings5@gmail.com,” and a telephone number of

(314) 201-2326.

       13.     This affiant viewed the files uploaded to the concerned Google account and

confirmed they contain child pornography / CSAM. A sampling of the files is as follows:

       FILE #1 NAME: report_11607909472578252824

       DESCRIPTION: An image file composed of a montage of images, 14 of which

       depict a nude prepubescent female child engaged in oral and anal sexual

       intercourse with a male’s penis.

       14.     On July 5th, 2022, Sergeant Brian Shanika advised this affiant that a second

related CyberTipline Report, report #115492861, had been forwarded to the Special

Investigations Unit from NCMEC.

       15.     CyberTipline Report #115492861, which was reported to NCMEC on January

14th, 2022 at 20:30:13 hours (UTC) by Google, advised that the Google account registered with

the name “Jim,” verified telephone number of (314) 666-0429, date of birth of xx-xx-1998,


                                                12
 Case: 4:23-mj-07292-SPM Doc. #: 1 Filed: 08/04/23 Page: 14 of 26 PageID #: 14


verified email address of “jimmygiongs50@gmail.com,” and additional email address of

“jimmygoings50@yahoo.com,” was used to upload five (5) files depicting child pornography /

CSAM to the Google Photos infrastructure using the IP address of 68.72.221.127 on September

28th, 2021 at 09:53:15 hours (UTC) and 2600:1700:acaf:b000:7584:54d3:70e8:7bd6 on

December 16th, 2021 at 06:33:20 hours (UTC).

       16.     NCMEC reported through Geo-Lookup that the IP addresses of 68.72.221.127

and 2600:1700:acaf:b000:7584:54d3:70e8:7bd6 are listed as belonging to AT&T Uverse, and

registered within the St. Louis metropolitan area.

       17.     On June 15th, 2022, a subpoena was sent to AT&T Internet Services for

user/subscriber information, to include method and type of payment for the IP addresses of

68.72.221.127 assigned on September, 28th, 2021 at 09:53:15 hours (GMT) and

2600:1700:acaf:b000:7584:54d3:70e8:7bd6 assigned on December 16th, 2021 at 06:33:20 hours

(GMT). A response was received from AT&T Internet Services, which both IP addresses had

been assigned to AT&T account #304963411, on the above-listed date and time, which is

registered to Denise Goings, with a service address of 2418 Spencer Avenue, Overland, Missouri

63114-3237,       an      email      addresses        of   “denise_tierney8612@att.net”       and

“jimmygoings5@gmail.com,” and a telephone numbers of (314) 201-2326 and (314) 499-805.

       18.     This affiant viewed the files uploaded to the concerned Google account and

confirmed they contain child pornography / CSAM. A sampling of the files is as follows:

       FILE #2 NAME: report_13591043003814918698

       DESCRIPTION: An image file composed of a montage of images, four (4) of

       which depict a prepubescent female child inserting a green object into her vagina.

       19.     On July 6th, 2022, a utility services check with Ameren UE indicated active utility

services for the residence located at 2418 Spencer Ave., Overland, MO 63114, were registered to


                                                 13
 Case: 4:23-mj-07292-SPM Doc. #: 1 Filed: 08/04/23 Page: 15 of 26 PageID #: 15


Denise Goings since September of 1999, with a listed telephone number of (314) 426-8969 and

an email address of “jimmygoings50@gmail.com.”

         20.   On July 21st, 2022, this affiant prepared a St. Louis County search warrant for the

residence located at 2418 Spencer Ave., Overland, MO 63114, which was presented to and

granted by Judge Virginia Lay, Division 16, of the Circuit Court of St. Louis County in the state

of Missouri.

         21.   Later, on July 21st, 2022, this affiant, along with members of the St. Louis County

Police Department’s Special Investigations Unit, as well as members of the St. Louis County

Police Department’s Tactical Operations Unit responded to 2418 Spencer Ave., Overland, MO

63114 and executed the search warrant. During a sweep of the residence, it was discovered that

one of its occupants, James Goings, was away, at an unknown location in the area of Lake of the

Ozarks, Missouri.

         22.   During the search warrant’s execution, items of evidentiary value were located in

and seized from the residence, including evidence item #9, a Dell computer tower, which was

located in James Goings’ bedroom.

         23.   A forensic examination was performed on the devices seized, and approximately

2,500 files depicting CSAM were located on evidence item #9. Credentials using the Google

account with the email address “jimmygoings50@gmail.com” were located on the Dell computer

tower.

         24.   This affiant knows from training and experience that people who collect child

pornography tend to keep the images and/or videos they get for extended periods of time and do

not delete the images and/or videos. They tend to regard the images and/or videos as trophies

and use them for sexual gratification. They also use them as bargaining tools when trading with




                                               14
 Case: 4:23-mj-07292-SPM Doc. #: 1 Filed: 08/04/23 Page: 16 of 26 PageID #: 16


others. Further, this affiant knows that other individuals may delete these images and/or videos

knowing that the images and/or videos can be easily acquired again.

        25.     This affiant knows from training and experience that people who tend to collect

images and/or videos of child pornography use video and audio components to capture and

record child pornography. They are also known to transfer these images and/or videos to other

digital media storage devices and/or social media accounts.

        26.     Your affiant respectfully requests that the affidavit and search warrant be sealed

so as not to compromise this on-going investigation.

              CHILD PORNOGRAPHY COLLECTOR CHARACTERISTICS

        27. Based upon my training and experience, I am aware that child pornography

distributors/collectors:

        a.      Receive sexual gratification, stimulation, and/or satisfaction from actual physical

        contact with children and/or from fantasies they may have viewing children engaged in

        sexual activity or in sexually suggestive poses, whether in-person or via photographs

        and/or other visual media, as well as from literature describing such activity;

        b.      Collect sexually-explicit or suggestive materials, to include but not limited to

        hard-core and soft-core pornography, and whether of adults and/or of children, in a

        variety of media, such as photographs, magazines, motion pictures, video tapes, books,

        slides, drawings, and/or other visual media, which they use for their own sexual arousal

        and gratification. Further, they commonly use this type of sexually-explicit material to

        lower the inhibitions of children they are attempting to seduce, to arouse the selected

        child-partner, and/or to demonstrate the desired sexual acts;

        c.      Almost always possess and maintain their material, whether it be pictures, films,

        videotapes, videos, magazines, negatives, photographs, correspondence, mailing lists,


                                                 15
 Case: 4:23-mj-07292-SPM Doc. #: 1 Filed: 08/04/23 Page: 17 of 26 PageID #: 17


       books, tape recordings, child erotica, digitally stored media, etc., in the privacy and

       security of their homes or some other secure location to include Internet cloud storage

       such as that provided by Google. Child pornography distributors/collectors typically

       retain pictures, films, photographs, negatives, magazines, videos, correspondence, books,

       tape recordings, mailing lists, child erotica, digitally stored media, and/or videotapes for

       many years;

       d.      Often correspond and/or meet others to share information and materials; rarely

       destroy correspondence from other child pornography distributors/collectors; conceal

       such correspondence as they do their sexually-explicit material; and often maintain lists

       of names, addresses, email accounts, social media accounts, usernames, and/or telephone

       numbers of individuals with whom they have been in contact and who share the same

       interests in child pornography; and,

       e.      Distributors/collectors who collect sexually-oriented photographs and/or videos of

       minors generally prefer not to be without their child pornography and/or child erotica for

       any prolonged time period. This behavior has been documented by law enforcement

       officers involved in the investigation of child pornography throughout the world.

                                   SEARCH PROCEDURE

       28.   In order to ensure that agents search only the computer account and/or files

described in Attachment A, this affidavit and application for search warrant seek authorization to

permit employees of Google LLC to assist agents in the execution of this warrant. To further

ensure that agents executing this warrant search only the computer account and/or files described

in Attachment A, the following procedures will be implemented:

       a.      The search warrant will be presented to Google LLC personnel who will be

       directed to isolate the account and files described in Attachment A;


                                               16
 Case: 4:23-mj-07292-SPM Doc. #: 1 Filed: 08/04/23 Page: 18 of 26 PageID #: 18


        b.        In order to minimize any disruption of computer service to innocent third parties,

        Google LLC employees and law enforcement personnel trained in the operation of

        computers will create an exact duplicate of the computer account and files described in

        Attachment A, including an exact duplicate of all information stored in the computer

        account and files described in Attachment A;

        c.        Google LLC employees will provide in electronic form the exact duplicate of the

        account and files described in Attachment A as well as all information stored in the

        account and files to the agent who serves this search warrant;

        d.        Law enforcement personnel will thereafter review the information stored in the

        account and files received from Google LLC employees and then identify and copy the

        information contained in the account and files which are authorized to be further copied

        by this search warrant; and,

        e.        Law enforcement personnel will then seal the original duplicate of the account

        and files received from Google LLC employees and will not further review the original

        duplicate absent an order of the Court.

                                           CONCLUSION

        29. Based upon the aforementioned information, your affiant believes that probable

cause         exists    that     Google       LLC,       which      is     located     at      1600

Amphitheatre Parkway in Mountain View, CA 94043, has evidence, as listed in Attachment A,

relating to the transmission, distribution, and/or receipt of child pornography related to the

following Google account: jimmygoings50@gmail.com.

        30.       Specifically, it is believed Google LLC has records regarding this account’s

uploaded content, downloaded content, correspondence, videos, photographs, any and all other

digitally-stored media and/or content, subscriber information, terms of service violation reports,


                                                  17
 Case: 4:23-mj-07292-SPM Doc. #: 1 Filed: 08/04/23 Page: 19 of 26 PageID #: 19


detailed billing records, and/or any and all other content, which contain evidence of violations of

Title 18, United States Code, Sections 2252 and 2252A as described in Attachment A.



I state under the penalty of perjury that the foregoing is true and correct.




                                                   _________________________________
                                                   STEPHANIE STOEHNER
                                                   Special Federal Officer
                                                   Federal Bureau of Investigation


Sworn to, attested to, and affirmed before me via reliable electronic means pursuant to Federal

Rules of Criminal Procedure 4.1 and 41 on this ______ day of August 2023.



                                                   _________________________________
                                                   HONORABLE
                                                   United States Magistrate Judge




                                                  18
 Case: 4:23-mj-07292-SPM Doc. #: 1 Filed: 08/04/23 Page: 20 of 26 PageID #: 20


                                    ATTACHMENT A

                                  Property to Be Searched

         This warrant applies to information associated with jimmygoings50@gmail.com (“the

Subject Account”) that is stored at premises owned, maintained, controlled, or operated by

Google LLC a company headquartered at 1600 Amphitheatre Parkway, Mountain View, CA

94043.
 Case: 4:23-mj-07292-SPM Doc. #: 1 Filed: 08/04/23 Page: 21 of 26 PageID #: 21


                                      ATTACHMENT B

                                 Particular Things to be Seized

I.     Information to be disclosed by Google LLC (“Google”)

       To the extent that the information described in Attachment A is within the possession,

custody, or control of Google, regardless of whether such information is located within or

outside of the United States, and including any emails, records, files, logs, or information that

has been deleted but is still available to Google, or has been preserved pursuant to a request

made under 18 U.S.C. § 2703(f) on October 26, 2022 with the Google Reference Number

25843556, Google is required to disclose to the government for each account or identifier listed

in Attachment A the following information from December 1, 2020 to Present, unless otherwise

indicated:

       a.     All business records and subscriber information, in any form kept, pertaining to

              the Account, including:

              1.      Names (including subscriber names, usernames, and screen names);

              2.      Addresses (including mailing addresses, residential addresses, business

                      addresses, and email addresses, including alternate and recovery email

                      addresses);

              3.      Telephone numbers, including SMS recovery and alternate sign-in

                      numbers;

              4.      Records of session times and durations, and the temporarily assigned

                      network addresses (such as Internet Protocol (“IP”) addresses) associated

                      with those sessions, including log-in IP addresses;




                                                2
Case: 4:23-mj-07292-SPM Doc. #: 1 Filed: 08/04/23 Page: 22 of 26 PageID #: 22


            5.      Telephone or instrument numbers or other subscriber numbers or

                    identities, including any temporarily assigned network address, SMS

                    recovery numbers, Google Voice numbers, and alternate sign-in numbers

            6.      Length of service (including start date and creation IP) and types of

                    service utilized;

            7.      Means and source of payment (including any credit card or bank account

                    number); and

            8.      Change history.

 b. All device information associated with the Account, including but not limited to,

    manufacture names, model numbers, serial number, media access control (MAC)

    addresses, international mobile equipment identifier (IMEI) numbers, FCC ID numbers,

    Android IDs, and telephone numbers;

 c. Records of user activity for each connection made to or from the Account(s), including,

    for all Google services, the date, time, length, and method of connection, data transfer

    volume, usernames, source and destination IP address, name of accessed Google service,

    and all activity logs

 d. The content of all communications sent to or from the account (including through Gmail,

    Google Hangouts (including videos), and otherwise), stored in draft form in the account,

    or otherwise associated with the account, including all message content, attachments, and

    header information;

 e. All address book, contact list, or similar information associated with the account;

 f. Full Google search history and Chrome browser history associated with the account;

 g. All Google Drive content;

 h. All bookmarks maintained by the account;


                                             3
Case: 4:23-mj-07292-SPM Doc. #: 1 Filed: 08/04/23 Page: 23 of 26 PageID #: 23


 i. All services used by the account;

 j. All subscriber and payment information, including full name, e-mail address (including

    any secondary or recovery email addresses), physical address (including city, state, and

    zip code), date of birth, gender, hometown, occupation, telephone number, websites,

    screen names, user identification numbers, security questions and answers, registration IP

    address, payment history, and other personal identifiers;

 k. All past and current usernames, account passwords, and names associated with the

    account;

 l. The dates and times at which the account and profile were created, and the Internet

    Protocol (“IP”) address at the time of sign-up;

 m. All transactional records associated with the account, including any IP logs or other

    records of session times and durations;

 n. Any information identifying the device or devices used to access the account, including a

    device serial number, a GUID or Global Unique Identifier, Android ID, a phone number,

    serial numbers, MAC addresses, Electronic Serial Numbers (“ESN”), Mobile Electronic

    Identity Numbers (“MEIN”), Mobile Equipment Identifiers (“MEID”), Mobile

    Identification Numbers (“MIN”), Subscriber Identity Modules (“SIM”), Mobile

    Subscriber Integrated Services Digital Network Number (“MSISDN”), International

    Mobile Subscriber Identifiers (“IMSI”), or International Mobile Equipment Identities

    (“IMEI”), and any other information regarding the types of devices used to access the

    account;

 o. All activity logs for the account;

 p. All photos and videos uploaded to the account, including in Google Drive and Google

    Photos;


                                              4
Case: 4:23-mj-07292-SPM Doc. #: 1 Filed: 08/04/23 Page: 24 of 26 PageID #: 24


 q. All photos and videos uploaded by any user that have that user tagged in them;

 r. All location and maps information;

 s. The length of service (including start date) and the means and source of any payments

    associated with the service (including any credit card or bank account number);

 t. All privacy settings and other account settings, including email addresses or other

    accounts that the account has blocked;

 u. Advertising and Device Data: All advertising data relating to the account, including, but

    not limited to, advertising cookies, information regarding unique advertising IDs

    associated with the user, any devices used to access the account, Android IDs, application

    IDs, UDIDs, payment information (including, but not limited to, full credit card numbers

    and expiration dates and PayPal accounts), ads clicked, and ads created;

 v. Linked Accounts: All accounts linked to the Target Account (including where linked by

    machine cookie or other cookie, creation or login IP address, recovery email or phone

    number, AOL account ID, Android ID, Google ID, SMS, Apple ID, or otherwise);

 w. For accounts linked by cookie, the date(s) on which they shared a cookie;

 x. For accounts linked by SMS number, information regarding whether the numbers were

    verified; and

 y. Customer Correspondence:        All records pertaining to communications between the

    Service Provider and any person regarding the user or the user’s account with the Service

    Provider, including contacts with support services, records of actions taken, and

    investigative or user complaints concerning the subscriber; and

 z. For all information required to be disclosed pursuant to this warrant, the physical location

    or locations where the information is stored.




                                             5
 Case: 4:23-mj-07292-SPM Doc. #: 1 Filed: 08/04/23 Page: 25 of 26 PageID #: 25


Google is hereby ordered to disclose the above information to the government within 14

days of issuance of this warrant.




                                          6
Case: 4:23-mj-07292-SPM Doc. #: 1 Filed: 08/04/23 Page: 26 of 26 PageID #: 26




                    CERTIFICATE OF AUTHENTICITY OF
                 DOMESTIC BUSINESS RECORDS PURSUANT TO
                    FEDERAL RULE OF EVIDENCE 902(11)


        I, _________________________________, attest, under penalties of perjury

 under the laws of the United States of America pursuant to 28 U.S.C. § 1746, that the

 information contained in this declaration is true and correct. I am employed by

 _______________________, and my official title is _____________________________.

 I am a custodian of records for______________________. I state that each of the

 records attached hereto is the original record or a true duplicate of the original record in

 the custody of _______________________, and that I am the custodian of the attached

 records consisting of __________ (pages/CDs/kilobytes). I further state that:


        a.      all records attached to this certificate were made at or near the time of the

 occurrence of the matter set forth, by, or from information transmitted by, a person with

 knowledge of those matters;


        b.      such records were kept in the ordinary course of a regularly conducted

 business activity of _______________________; and


        c.      such records were made by _______________________ as a regular

 practice.


        I further state that this certification is intended to satisfy Rule 902(11) of the

 Federal Rules of Evidence.




 Date                               Signature
